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                          UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA

  BRITTNEY BROWN, individually, and on
  behalf of all others similarly situated,
                                                  CIVIL ACTION
                         Plaintiff,
                                                  No.
       v.
                                                  CLASS ACTION
  MANAGED CARE OF NORTH
  AMERICA, INC.,                                  JURY TRIAL DEMANDED

                        Defendant.


                 PLAINTIFF’S ORIGINAL CLASS ACTION COMPLAINT

        Plaintiff Brittney Brown (“Plaintiff”) brings this Class Action Petition against Managed

 Care of North America, Inc. (“MCNA Dental” or “Defendant”), individually and on behalf of all

 others similarly situated (“Class Members”), and alleges, upon personal knowledge as to her own

 actions and her counsel’s investigations, and upon information and belief as to all other matters,

 as follows:

                                      NATURE OF THE ACTION

        1.      Plaintiff brings this class action against Defendant for its failure to properly secure

 and safeguard personally identifiable information (“PII”) including, but not limited to, Plaintiff’s

 and Class Members’ names, addresses, dates of birth, Social Security numbers, and medical

 records (collectively, “Private Information” or “PII”). MCNA Dental’s severe failures have

 affected—and continue to affect—a class of over 8.9 million people.

        2.      Defendant MCNA Dental “provides electronic health records and practice

 management solutions to doctors and medical professionals.” MCNA Dental experienced a data




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 breach between February 26, 2023, and March 7, 2023, in which unauthorized third-parties were

 able to access certain files on its network.

        3.      During the course of its business operations, Defendant acquired, collected,

 utilized, and derived a benefit from Plaintiff’s and Class Members’ Private Information. Therefore,

 Defendant owed and otherwise assumed statutory, regulatory, and common law duties and

 obligations, including to keep Plaintiff’s and Class Members’ Private Information confidential,

 safe, secure, and protected from the type of unauthorized access, disclosure, and theft that occurred

 in the Data Breach.

        4.      On or about March 6, 2023, Defendant “became aware of certain activity in [its]

 computer system that happened without [its] permission.” An investigation determined that there

 was a cybersecurity incident between February 26, 2023 and March 7, 2023, in which unauthorized

 third parties accessed Plaintiff’s and Class Members’ Private Information stored on Defendant’s

 network (the “Data Breach”).

        5.      Defendant launched an investigation into the Data Breach and confirmed that an

 unauthorized actor accessed its system and certain files containing Plaintiff’s and Class Members’

 Private Information, including, but not limited to, the following: names, Social Security numbers,

 dates of birth, phone numbers, driver’s license numbers, home addresses, health insurance plan

 information, Medicaid-Medicare ID numbers, and medical records, including medical bills and

 insurance claims, medical visits, dentists names, doctors names, past care records, x-rays/photos,

 medicines, and treatment.

        6.      The Notice of Data Incident sent to Plaintiff states the following:

                What Happened? On March 6, 2023, MCNA became aware of
                certain activity in our computer system that happened without our
                permission. We quickly took steps to stop that activity. We began
                an investigation right away. A special team was hired to help us. We

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               learned a criminal was able to see and take copies of some
               information in our computer system between February 26, 2023 and
               March 7, 2023. . . .

        7.     Based on the Notice of Data Breach Letter, Defendant admits that Plaintiff’s and

 Class Members’ Private Information was unlawfully accessed by a third party.

        8.     Plaintiff brings this class action lawsuit on behalf of those similarly situated to

 address Defendant’s inadequate safeguarding of Class Members’ Private Information that it

 collected and maintained, and for failing to provide adequate notice to Plaintiff and other Class

 Members that their information had been subject to the unauthorized access of an unknown third

 party and precisely what specific type of information was accessed.

        9.     Upon information and belief, Defendant maintained the Private Information in a

 negligent manner. In particular, the Private Information was maintained on computer systems and

 networks that were in a condition vulnerable to cyberattack. Upon information and belief, the

 mechanism of the Data Breach and potential for improper disclosure of Plaintiff’s and Class

 Members’ Private Information was a known risk to Defendant; and, thus, Defendant was on notice

 that failing to take appropriate protective measures would expose and increase the risk that the

 Private Information could be compromised and stolen.

        10.    Hackers can offer for sale the unencrypted, unredacted Private Information to

 criminals. The exposed Private Information of Plaintiff and Class Members can, and likely will,

 be sold repeatedly on the dark web.

        11.    Plaintiff and Class Members now face a current and ongoing risk of identity theft,

 which is heightened here by the loss of Social Security numbers – the gold standard for identity

 thieves.




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         12.    This Private Information was compromised due to Defendant’s negligent and/or

 careless acts and omissions and the failure to protect the Private Information of Plaintiff and Class

 Members.

         13.    As a result of this data breach, Plaintiff’s and Class Members’ Private Information

 has been compromised, and they are, and continue to be, at significant risk of identity theft and

 various other forms of personal, social, and financial harm. The risk will remain for their respective

 lifetimes.

         14.    While many details of the Data Breach remain in the exclusive control of

 Defendant, upon information and belief, Defendant breached its duties and obligations by failing,

 in one or more of the following ways: (1) failing to design, implement, monitor, and maintain

 reasonable network safeguards against foreseeable threats; (2) failing to design, implement, and

 maintain reasonable data retention policies; (3) failing to adequately train staff on data security;

 (4) failing to comply with industry-standard data security practices; (5) failing to warn Plaintiff

 and Class Members of Defendants’ inadequate data security practices; (6) failing to encrypt or

 adequately encrypt the Private Information; (7) failing to recognize or detect that its network had

 been compromised and accessed in a timely manner to mitigate the harm; (8) failing to utilize

 widely available software able to detect and prevent this type of attack, and (9) otherwise failing

 to secure the hardware using reasonable and effective data security procedures free of foreseeable

 vulnerabilities and data security incidents.

         15.    As a result of Defendant’s unreasonable and inadequate data security practices that

 resulted in the Data Breach, Plaintiff and Class Members are at a current and ongoing risk of

 identity theft and have suffered numerous actual and concrete injuries and damages, including: (a)

 invasion of privacy; (b) financial “out of pocket” costs incurred mitigating the materialized risk



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 and imminent threat of identity theft; (c) loss of time and loss of productivity incurred mitigating

 the materialized risk and imminent threat of identity theft risk; (d) financial “out of pocket” costs

 incurred due to actual identity theft; (e) loss of time incurred due to actual identity theft; (f) loss

 of time due to increased spam and targeted marketing emails; (g) the loss of benefit of the bargain

 (price premium damages); (h) diminution of value of their Private Information; (i) anxiety,

 annoyance and nuisance, and (j) the continued risk to their Private Information, which remains in

 the possession of Defendant, and which is subject to further breaches, so long as Defendant fails

 to undertake appropriate and adequate measures to protect Plaintiff’s and Class Members’ Private

 Information.

        16.     Plaintiff seeks to remedy these harms on behalf of herself and all similarly situated

 individuals whose Private Information was accessed during the Data Breach. Plaintiff seeks

 remedies including, but not limited to, compensatory damages, reimbursement of out-of-pocket

 costs, future costs of identity theft monitoring, and injunctive relief including improvements to

 Defendant’s data security systems, and future annual audits.

        17.     Accordingly, Plaintiff brings this action against Defendant seeking redress for its

 unlawful conduct, and asserting claims for: (i) negligence, (ii) negligence per se, (iii) invasion of

 privacy; (iv) declaratory judgment.

                                              PARTIES

        18.     Plaintiff Brittney Brown is a Citizen of Mississippi residing in Pearl River County,

 Mississippi. Plaintiff received a letter dated May 26, 2023, from Defendant MCNA Dental

 notifying Plaintiff that Defendant’s network had been accessed and Plaintiff’s Private Information

 may have been involved in the Data Breach.




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        19.       Defendant MCNA Dental is a for profit corporation organized under the laws of

 Florida and headquartered in Miramar, Florida. MCNA Dental’s principal place of business is

 located at 3100 SW 145th Avenue, Suite #200, Miramar, FL, 33027. Defendant can be served

 through its registered agent, C T Corporation System, 1200 South Pine Island Road, Plantation,

 FL 33324.

                                    JURISDICTION AND VENUE

        20.       This Court has subject matter jurisdiction over this action under the Class Action

 Fairness Act, 28 U.S.C. § 1332(d)(2) because Plaintiff and at least one member of the Class, as

 defined below, is a citizen of a different state than Defendant, there are more than 100 putative

 class members, and the amount in controversy exceeds $5 million, exclusive of interest and costs.

 Thus, minimal diversity exists under 28 U.S.C. § 1332(d)(2)(A).

        21.       This Court has personal jurisdiction over Defendant because it operates and is

 headquartered in this District and conducts substantial business in this District.

        22.       Venue is proper in this Court pursuant to 28 U.S.C. § 1391(a)(1) because a

 substantial part of the events giving rise to this action occurred in this District. Moreover,

 Defendant is based in this District, maintains Plaintiff’s and Class Members’ Private Information

 in this District, and has caused harm to Plaintiff and Class Members in this District.

                                     FACTUAL ALLEGATIONS

                                            The Data Breach

        23.       On or about March 6, 2023, Defendant became aware that its network may have

 been breached.




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          24.    Following a forensic investigation, Defendant then discovered that cybercriminals

 had accessed a set of electronically stored personal information stored on its network between

 February 26, 2023, and March 7, 2023.

          25.    Defendant’s Notice of Data Breach admits that Plaintiff’s and Class Members’

 Private Information was accessed without authorization.1

                               Plaintiff Brittney Brown’s Experience

          26.    As a requisite to receiving medical services from Defendant, Plaintiff provided her

 Private Information to Defendant and trusted that the information would be safeguarded according

 to state and federal law. Upon receipt, Private Information was entered and stored on Defendant’s

 network and systems.

          27.    Plaintiff is very careful about sharing her sensitive Private Information. Plaintiff

 has never knowingly transmitted unencrypted sensitive Private Information

          28.    Plaintiff stores any documents containing her sensitive Private Information in a safe

 and secure location or destroys the documents. Moreover, Plaintiff diligently chooses unique

 usernames and passwords for her various online accounts. Had she known Defendants failed to

 follow basic industry security standards and failed to implement systems to protect her Private

 Information, she would not have provided that information to Defendant.

          29.    The Notice Letter dated May 26, 2023, from Defendant MCNA Dental notified

 Plaintiff that its network had been accessed and Plaintiff’s Private Information may have been

 involved in the Data Breach, which included Plaintiff’s name, Social Security number, date of

 birth, phone number, driver’s license number, home addresse, health insurance plan information,

 Medicaid-Medicare ID number, and medical records, including medical bills and insurance claims,



 1
     May 26, 2023, Data Breach Letter from MCNA Dental (attached as Exhibit 1).
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 medical visits, dentists names, doctors names, past care records, x-rays/photos, medicines, and

 treatment.

        30.     Furthermore, Defendant directed Plaintiff to be vigilant and to take certain steps to

 protect her Private Information and otherwise mitigate her damages.

        31.     As a result of the Data Breach, Plaintiff heeded Defendant’s warning and spent time

 dealing with the consequences of the Data Breach, which includes time spent verifying the

 legitimacy of the Notice of Data Breach and self-monitoring her accounts and credit reports to

 ensure no fraudulent activity has occurred. This time has been lost forever and cannot be

 recaptured. Moreover, this time was spent at Defendant’s direction by way of the Data Breach

 notice where Defendant advised Plaintiff to mitigate her damages by, among other things,

 monitoring her accounts for fraudulent activity.

        32.     Even with the best response, the harm caused to Plaintiff cannot be undone.

        33.     Plaintiff further suffered actual injury in the form of damages to and diminution in

 the value of Plaintiff’s Private Information—a form of intangible property that Plaintiff entrusted

 to Defendant, which was compromised in and as a result of the Data Breach.

        34.     She also lost her benefit of the bargain by paying for medical services that failed to

 provide the data security that was promised.

        35.     Plaintiff suffered lost time, annoyance, interference, and inconvenience as a result

 of the Data Breach and has anxiety and increased concerns for the loss of her privacy.

        36.     Plaintiff has suffered imminent and impending injury arising from the present and

 ongoing risk of fraud, identity theft, and misuse resulting from her Private Information being

 placed in the hands of unauthorized third parties and possibly criminals.




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        37.     Future identity theft monitoring is reasonable and necessary and such services will

 include future costs and expenses.

        38.     Plaintiff has a continuing interest in ensuring that Plaintiff’s Private Information,

 which, upon information and belief, remains backed up in Defendant’s possession, is protected

 and safeguarded from future breaches.

                                 The Data Breach Was Foreseeable

        39.     At all relevant times, Defendant knew, or reasonably should have known, of the

 importance of safeguarding the PII of Plaintiff and Class Members and the foreseeable

 consequences that would occur if Defendant’s data security system was breached, including,

 specifically, the significant costs that would be imposed on Plaintiff and Class Members as a result

 of a breach.

        40.     Defendant was, or should have been, fully aware of the unique type and the

 significant volume of data on Defendant’s network, amounting to potentially millions of

 individuals’ detailed, personal information and, thus, the significant number of individuals who

 would be harmed by the exposure of the unencrypted data.

        41.     As explained by the Federal Bureau of Investigation, “[p]revention is the most

 effective defense against ransomware and it is critical to take precautions for protection.” 2

        42.     Defendant’s data security obligations were particularly important given the

 substantial increase in cyberattacks and/or data breaches in the healthcare industry preceding the

 date of the breach.




 2
   See How to Protect Your Networks from RANSOMWARE, at 3, available at
 https://www.fbi.gov/file-repository/ransomware-prevention-and-response-for-cisos.pdf/view
 (last accessed Aug. 23, 2021).
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         43.     In 2021, a record 1,862 data breaches occurred, resulting in approximately

  293,927,708 sensitive records being exposed, a 68% increase from 2020. Of the 1,862 recorded

  data breaches, 330 of them, or 17.7% were in the medical or healthcare industry. 3 The 330 reported

  breaches in 2021 exposed nearly 30 million sensitive records (28,045,658), compared to only 306

  breaches that exposed nearly 10 million sensitive records (9,700,238) in 2020.

         44.     In light of recent high profile cybersecurity incidents at other healthcare partner and

  provider companies, including American Medical Collection Agency (25 million patients, March

  2019), University of Washington Medicine (974,000 patients, December 2018), Florida

  Orthopedic Institute (640,000 patients, July 2020), Wolverine Solutions Group (600,000 patients,

  September 2018), Oregon Department of Human Services (645,000 patients, March 2019), Elite

  Emergency Physicians (550,000 patients, June 2020), Magellan Health (365,000 patients, April

  2020), and BJC Health System (286,876 patients, March 2020), Defendant knew or should have

  known that its electronic records would be targeted by cybercriminals.

         45.     Indeed, cyberattacks have become so notorious that the Federal Bureau of

  Investigation (“FBI”) and U.S. Secret Service have issued a warning to potential targets, so they

  are aware of, and prepared for, a potential attack. As one report explained, “[e]ntities like smaller

  municipalities and hospitals are attractive to ransomware criminals… because they often have

  lesser IT defenses and a high incentive to regain access to their data quickly.” 4




  3
    See 2021 Data Breach Annual Report, 6 (ITRC, Jan. 2022) available at
  https://notified.idtheftcenter.org/s/.
  4
    FBI, Secret Service Warn of Targeted, Law360 (Nov.18,2019),
  https://www.law360.com/articles/1220974/fbisecret-service-warn-of-targeted-ransomware
                                                   10
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         46.    In fact, according to the cybersecurity firm Mimecast, 90% of healthcare

  organizations experienced cyberattacks between 2019 and 2020. 5

         47.    Therefore, the increase in such attacks, and the attendant risk of future attacks, was

  widely known to the public and to anyone in Defendant’s industry, including Defendant.

                                        Value of PII and PHI6

         48.    The PII of consumers remains of high value to criminals, as evidenced by the prices

  offered through the dark web. Numerous sources cite dark web pricing for stolen identity

  credentials. For example, personal information can be sold at a price ranging from $40 to $200,

  and bank details have a price range of $50 to $200.7 According to the Dark Web Price Index for

  2021, payment card details for an account balance up to $1,000 have an average market value of

  $150, credit card details with an account balance up to $5,000 have an average market value of

  $240, stolen online banking logins with a minimum of $100 on the account have an average market

  value of $40, and stolen online banking logins with a minimum of $2,000 on the account have an

  average market value of $120.8 Criminals can also purchase access to entire company data

  breaches from $900 to $4,500.9




  5
    See Maria Hernandez, Iowa City Hospital Suffers Phishing Attack, Security Magazine (Nov.
  23, 2020), https://www.securitymagazine.com/articles/93988-iowa-city-hospital-suffers-
  phishing-attack.
  6
    While Defendant states that Protected Health Information (“PHI”) was not involved in this
  breach, the presence of PHI on Defendant’s network is relevant in assessing Defendant’s duty of
  care in protecting Plaintiff’s and Class Members’ Private Information.
  7
    Your personal data is for sale on the dark web. Here’s how much it costs, Digital Trends, Oct.
  16, 2019, available at: https://www.digitaltrends.com/computing/personal-data-sold-on-the-dark-
  web-how-much-it-costs/.
  8
    Dark Web Price Index 2021, Zachary Ignoffo, March 8, 2021, available at:
  https://www.privacyaffairs.com/dark-web-price-index-2021/
  9
    In the Dark, VPNOverview, 2019, available at https://vpnoverview.com/privacy/anonymous-
  browsing/in-the-dark/.
                                                 11
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           49.   Based on the foregoing, the information compromised in the Data Breach is

  significantly more valuable than the loss of, for example, credit card information in a retailer data

  breach because, there, victims can cancel or close credit and debit card accounts.

           50.   This data demands a much higher price on the black market. Martin Walter, senior

  director at cybersecurity firm RedSeal, explained, “Compared to credit card information,

  personally identifiable information…[is] worth more than 10x on the black market.” 10

           51.   Among other forms of fraud, identity thieves may obtain driver’s licenses,

  government benefits, medical services, and housing, or even give false information to police.

           52.   The fraudulent activity resulting from the Data Breach may not come to light for

  years.

           53.   Theft of PHI is also gravely serious: “[a] thief may use your name or health

  insurance numbers to see a doctor, get prescription drugs, file claims with your insurance provider,

  or get other care. If the thief’s health information is mixed with yours, your treatment, insurance

  and payment records, and credit report may be affected.”

           54.   There is also a robust legitimate market for the type of sensitive information at issue

  here. Marketing firms utilize personal information to target potential customers, and an entire

  economy exists related to the value of personal data.

           55.   Drug manufacturers, medical device manufacturers, pharmacies, hospitals and

  other healthcare service providers often purchase PII and PHI on the black market for the purpose

  of target-marketing their products and services to the physical maladies of the data breach victims




  10
     Time Greene, Anthem Hack: Personal Data Stolen Sells for 10x Price of Stolen Credit Card
  Numbers, IT World, (Feb. 6, 2015), available at:
  https://www.networkworld.com/article/2880366/anthem-hack-personal-data-stolen-sells-for-10x-
  price-of-stolen-credit-card-numbers.html (last accessed Aug. 23, 2021).
                                                   12
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  themselves. Insurance companies purchase and use wrongfully disclosed PHI to adjust their

  insureds’ medical insurance premiums.

           56.    Moreover, there may be a time lag between when harm occurs versus when it is

  discovered, and also between when PII is stolen and when it is used. According to the U.S.

  Government Accountability Office (“GAO”), which conducted a study regarding data breaches:

           [L]aw enforcement officials told us that in some cases, stolen data may be
           held for up to a year or more before being used to commit identity theft.
           Further, once stolen data have been sold or posted on the Web, fraudulent
           use of that information may continue for years. As a result, studies that
           attempt to measure the harm resulting from data breaches cannot necessarily
           rule out all future harm.11

           57.    As such, future monitoring of financial and personal records is reasonable and

  necessary well beyond the one of protection offered by Defendant.

       Defendant Failed to Properly Protect Plaintiff’s and Class Members’ Private Information

           58.    Defendant could have prevented this Data Breach by properly securing and

  encrypting the systems containing the Private Information of Plaintiff and Class Members.

  Alternatively, Defendant could have destroyed the data, especially for individuals with whom it

  had not had a relationship for a period of time.

           59.    Defendant’s negligence in safeguarding the PII of Plaintiff and Class Members is

  exacerbated by the repeated warnings and alerts directed to companies like Defendant to protect

  and secure sensitive data they possess.

           60.    Despite the prevalence of public announcements of data breach and data security

  compromises, Defendant failed to take appropriate steps to protect the PII of Plaintiff and Class

  Members from being compromised.



  11
     Report to Congressional Requesters, GAO, at 29 (June 2007), available at:
  https://www.gao.gov/assets/gao-07-737.pdf (last accessed Aug. 23, 2021).
                                                     13
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         61.     The Federal Trade Commission (“FTC”) defines identity theft as “a fraud

  committed or attempted using the identifying information of another person without authority.”

  The FTC describes “identifying information” as “any name or number that may be used, alone or

  in conjunction with any other information, to identify a specific person,” including, among other

  things, “[n]ame, Social Security number, date of birth, official State or government issued driver’s

  license or identification number, alien registration number, government passport number,

  employer or taxpayer identification number.” 12

         62.     The ramifications of Defendant’s failure to keep secure the PII of Plaintiff and Class

  Members are long lasting and severe. Once PII is stolen, fraudulent use of that information and

  damage to victims may continue for years.

         63.     To prevent and detect unauthorized cyber-attacks, Defendant could and should

  have implemented, as recommended by the United States Government, the following measures:

          Implement an awareness and training program. Because end users are targets,
           employees and individuals should be aware of the threat of ransomware and how
           it is delivered.
          Enable strong spam filters to prevent phishing emails from reaching the end
           users and authenticate inbound email using technologies like Sender Policy
           Framework (SPF), Domain Message Authentication Reporting and
           Conformance (DMARC), and DomainKeys Identified Mail (DKIM) to prevent
           email spoofing.
          Scan all incoming and outgoing emails to detect threats and filter executable
           files from reaching end users.
          Configure firewalls to block access to known malicious IP addresses.
          Patch operating systems, software, and firmware on devices. Consider using a
           centralized patch management system.
          Set anti-virus and anti-malware programs to conduct regular scans
           automatically.
          Manage the use of privileged accounts based on the principle of least privilege:
           no users should be assigned administrative access unless absolutely needed; and


  12
    See generally Fighting Identity Theft With the Red Flags Rule: A How-To Guide for Business,
  FED. TRADE COMM., https://www.ftc.gov/business-guidance/resources/fighting-identity-theft-
  red-flags-rule-how-guide-business (last accessed May 1, 2023).
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                those with a need for administrator accounts should only use them when
                necessary.
               Configure access controls—including file, directory, and network share
                permissions—with least privilege in mind. If a user only needs to read specific
                files, the user should not have write access to those files, directories, or shares.
               Disable macro scripts from office files transmitted via email. Consider using
                Office Viewer software to open Microsoft Office files transmitted via email
                instead of full office suite applications.
               Implement Software Restriction Policies (SRP) or other controls to prevent
                programs from executing from common ransomware locations, such as
                temporary       folders     supporting     popular     Internet     browsers      or
                compression/decompression programs, including the AppData/LocalAppData
                folder.
               Consider disabling Remote Desktop protocol (RDP) if it is not being used.
               Use application whitelisting, which only allows systems to execute programs
                known and permitted by security policy.
               Execute operating system environments or specific programs in a virtualized
                environment.
               Categorize data based on organizational value and implement physical and
                logical separation of networks and data for different organizational units. 13

            64.      To prevent and detect cyber-attacks, including the cyber-attack that resulted in the

  Data Breach, Defendant could and should have implemented, as recommended by the United

  States Cybersecurity & Infrastructure Security Agency, the following measures:

                 Update and patch your computer. Ensure your applications and operating systems
                  (OSs) have been updated with the latest patches. Vulnerable applications and OSs are
                  the target of most ransomware attacks…
                 Use caution with links and when entering website addresses. Be careful when
                  clicking directly on links in emails, even if the sender appears to be someone you know.
                  Attempt to independently verify website addresses (e.g., contact your organization’s
                  helpdesk, search the internet for the sender organization’s website or the topic
                  mentioned in the email). Pay attention to the website addresses you click on, as well as
                  those you enter yourself. Malicious website addresses often appear almost identical to
                  legitimate sites, often using a slight variation in spelling or a different domain (e.g.,
                  .com instead of .net)…
                 Open email attachments with caution. Be wary of opening email attachments, even
                  from senders you think you know, particularly when attachments are compressed files
                  or ZIP files.
                 Keep your personal information safe. Check a website’s security to ensure the
                  information you submit is encrypted before you provide it….


  13
       Id. at 3-4.
                                                       15
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              Verify email senders. If you are unsure whether or not an email is legitimate, try to
               verify the email’s legitimacy by contacting the sender directly. Do not click on any
               links in the email. If possible, use a previous (legitimate) email to ensure the contact
               information you have for the sender is authentic before you contact them.
              Inform yourself. Keep yourself informed about recent cybersecurity threats and up to
               date on ransomware techniques. You can find information about known phishing
               attacks on the Anti-Phishing Working Group website. You may also want to sign up
               for CISA product notifications, which will alert you when a new Alert, Analysis
               Report, Bulletin, Current Activity, or Tip has been published.
              Use and maintain preventative software programs. Install antivirus software,
               firewalls, and email filters—and keep them updated—to reduce malicious network
               traffic…14

         65.       To prevent and detect cyber-attacks, including the cyber-attack that resulted in the

  Data Breach, Defendant could and should have implemented, as recommended by the Microsoft

  Threat Protection Intelligence Team, the following measures:

         Secure internet-facing assets

                  Apply latest security updates
                  Use threat and vulnerability management
                  Perform regular audit; remove privileged credentials;

         Thoroughly investigate and remediate alerts

                  Prioritize and treat commodity malware infections as potential full compromise;

         Include IT Pros in security discussions

                  Ensure collaboration among [security operations], [security admins], and
                   [information technology] admins to configure servers and other endpoints securely;

         Build credential hygiene

                  Use [multifactor authentication] or [network level authentication] and use strong,
                   randomized, just-in-time local admin passwords

         Apply principle of least-privilege

                  Monitor for adversarial activities
                  Hunt for brute force attempts

  14
    See Security Tip (ST19-001) Protecting Against Ransomware (original release date Apr. 11,
  2019), available at https://us-cert.cisa.gov/ncas/tips/ST19-001 (last accessed Aug. 23, 2021).
                                                    16
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                  Monitor for cleanup of Event Logs
                  Analyze logon events

         Harden infrastructure

                  Use Windows Defender Firewall
                  Enable tamper protection
                  Enable cloud-delivered protection
                  Turn on attack surface reduction rules and [Antimalware Scan Interface] for Office
                   [Visual Basic for Applications].15

         66.       Moreover, given that Defendant was storing the PII and PHI of Plaintiff and Class

  Members, Defendant could and should have implemented all of the above measures to prevent and

  detect cyberattacks.

         67.       The occurrence of the Data Breach indicates that Defendant failed to adequately

  implement one or more of the above measures to prevent cyberattacks, resulting in the Data Breach

  and the exposure of the PII of Plaintiff and Class Members.

         68.       As a result of computer systems in need of security upgrades and inadequate

  procedures for handling email phishing attacks, viruses, malignant computer code, and hacking

  attacks, Defendant negligently and unlawfully failed to safeguard Plaintiff’s and Class Members’

  Private Information.

         69.       Because Defendant failed to properly protect and safeguard Plaintiff’s and Class

  Members’ Private Information, an unauthorized third party was able to access Defendant’s

  network, and access Defendant’s database and system configuration files and exfiltrate that data.

                          Defendant Failed to Comply with FTC Guidelines




  15
     See Human-operated ransomware attacks: A preventable disaster (Mar 5, 2020), available at
  https://www.microsoft.com/security/blog/2020/03/05/human-operated-ransomware-attacks-a-
  preventable-disaster/ (last accessed Aug. 23, 2021).
                                                   17
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         70.     The Federal Trade Commission (“FTC”) has promulgated numerous guides for

  businesses which highlight the importance of implementing reasonable data security practices.

  According to the FTC, the need for data security should be factored into all business decision

  making.

         71.     In 2016, the FTC updated its publication, Protecting Personal Information: A Guide

  for Business, which established cyber-security guidelines for businesses. The guidelines note that

  businesses should protect the personal patient information that they keep; properly dispose of

  personal information that is no longer needed; encrypt information stored on computer networks;

  understand their network’s vulnerabilities; and implement policies to correct any security

  problems.16

         72.     The guidelines also recommend that businesses use an intrusion detection system

  to expose a breach as soon as it occurs; monitor all incoming traffic for activity indicating someone

  is attempting to hack the system; watch for large amounts of data being transmitted from the

  system; and have a response plan ready in the event of a breach.

         73.     The FTC further recommends that companies not maintain PII longer than is

  needed for authorization of a transaction; limit access to sensitive data; require complex passwords

  to be used on networks; use industry-tested methods for security; monitor for suspicious activity

  on the network; and verify that third-party service providers have implemented reasonable security

  measures.

         74.     The FTC has brought enforcement actions against businesses for failing to

  adequately and reasonably protect patient data, treating the failure to employ reasonable and



  16
    Protecting Personal Information: A Guide for Business, Federal Trade Commission (2016).
  Available at https://www.ftc.gov/business-guidance/resources/protecting-personal-information-
  guide-business (last accessed May 16, 2023).
                                                   18
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  appropriate measures to protect against unauthorized access to confidential consumer data as an

  unfair act or practice prohibited by Section 5 of the Federal Trade Commission Act (“FTCA”), 15

  U.S.C. § 45. Orders resulting from these actions clarify the measures businesses take to meet their

  data security obligations.

         75.     Defendant failed to properly implement basic data security practices.

         76.     Defendant’s failure to employ reasonable and appropriate measures to protect

  against unauthorized access to Plaintiff’s and Class Members’ Private Information constitutes an

  unfair act or practice prohibited by Section 5 of the FTC Act, 15 U.S.C. § 45.

         77.     Defendant was always fully aware of its obligation to protect the Private

  Information of Plaintiff and Class Members. Defendant was also aware of the significant

  repercussions that would result from its failure to do so.

                       Defend ant Failed to Comply with Industry Standards

         78.     As shown above, experts studying cyber security routinely identify healthcare

  providers as being particularly vulnerable to cyberattacks because of the value of the PII and PHI

  which they collect and maintain.

         79.     Several best practices have been identified that at a minimum should be

  implemented by healthcare service providers like Defendant, including, but not limited to:

  educating all employees; strong passwords; multi-layer security, including firewalls, anti-virus,

  and anti-malware software; encryption, making data unreadable without a key; multi-factor

  authentication; backup data; and limiting which employees can access sensitive data.

         80.     Other best cybersecurity practices that are standard in the healthcare industry

  include installing appropriate malware detection software; monitoring and limiting the network

  ports; protecting web browsers and email management systems; setting up network systems such



                                                   19
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  as firewalls, switches and routers; monitoring and protection of physical security systems;

  protection against any possible communication system; and training staff regarding critical points.

         81.     Defendant failed to meet the minimum standards of any of the following

  frameworks: the NIST Cybersecurity Framework Version 1.1 (including without limitation

  PR.AC-1, PR.AC-3, PR.AC-4, PR.AC-5, PR.AC-6, PR.AC-7, PR.AT-1, PR.DS-1, PR.DS-5,

  PR.PT-1, PR.PT-3, DE.CM-1, DE.CM-4, DE.CM-7, DE.CM-8, and RS.CO-2), and the Center for

  Internet Security’s Critical Security Controls (CIS CSC), which are all established standards in

  reasonable cybersecurity readiness.

         82.     The foregoing frameworks are existing and applicable industry standards in the

  healthcare industry, and Defendant failed to comply with these accepted standards, thereby

  opening the door to and causing the Data Breach.

         83.     Upon information and belief, Defendant failed to comply with one or more of the

  foregoing industry standards.

                             Defendant’s Negligent Acts and Breaches

         84.     Defendant participated and controlled the process of gathering the Private

  Information from Plaintiff and Class Members.

         85.     Defendant therefore assumed and otherwise owed duties and obligations to Plaintiff

  and Class Members to take reasonable measures to protect the information, including the duty of

  oversight, training, instruction, testing of the data security policies and network systems.

  Defendant breached these obligations to Plaintiff and Class Members and/or were otherwise

  negligent because it failed to properly implement data security systems and policies for its health

  providers network that would adequately safeguarded Plaintiff’s and Class Members’ Sensitive




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  Information. Upon information and belief, Defendant’s unlawful conduct included, but is not

  limited to, one or more of the following acts and/or omissions:

             a) Failing to design and maintain an adequate data security system to reduce the risk

                 of data breaches and protect Plaintiff’s and Class Members Sensitive Information;

             b) Failing to properly monitor its data security systems for data security vulnerabilities

                 and risk;

             c) Failing to test and assess the adequacy of its data security system;

             d) Failing to develop adequate training programs related to the proper handling of

                 emails and email security practices;

             e) Failing to put into develop and place uniform procedures and data security

                 protections for its healthcare network;

             f) Failing to adequately fund and allocate resources for the adequate design, operation,

                 maintenance, and updating necessary to meet industry standards for data security

                 protection;

             g) Failing to ensure or otherwise require that it was compliant with FTC guidelines

                 for cybersecurity;

             h) Failing to ensure or otherwise require that it was adhering to one or more of industry

                 standards for cybersecurity discussed above;

             i) Failing to implement or update antivirus and malware protection software in need

                 of security updating;

             j) Failing to require encryption or adequate encryption on its data systems;




                                                  21
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               k) Otherwise negligently and unlawfully failing to safeguard Plaintiff’s and Class

                  Members’ Private Information provided to Defendant, which in turn allowed

                  cyberthieves to access its IT systems.

                                COMMON INJURIES & DAMAGES

         86.      As result of Defendant’s ineffective and inadequate data security practices, Plaintiff

  and Class Members now face a present and ongoing risk of fraud and identity theft.

         87.      Due to the Data Breach, and the foreseeable consequences of Private Information

  ending up in the possession of criminals, the risk of identity theft to Plaintiff and Class Members

  has materialized and is imminent, and Plaintiff and Class Members have all sustained actual

  injuries and damages, including: (a) invasion of privacy; (b) “out of pocket” costs incurred

  mitigating the materialized risk and imminent threat of identity theft; (c) loss of time and loss of

  productivity incurred mitigating the materialized risk and imminent threat of identity theft risk; (d)

  “out of pocket” costs incurred due to actual identity theft; (e) loss of time incurred due to actual

  identity theft; (f) loss of time due to increased spam and targeted marketing emails; (g) the loss of

  benefit of the bargain (price premium damages); (h) diminution of value of their Private

  Information; and (i) the continued risk to their Private Information, which remains in Defendant’s

  possession, and which is subject to further breaches, so long as Defendant fails to undertake

  appropriate and adequate measures to protect Plaintiff’s and Class Members’ Private Information.

        The Risk of Identity Theft to Plaintiff and Class Members Is Present and Ongoing

         88.      The link between a data breach and the risk of identity theft is simple and well

  established. Criminals acquire and steal Private Information to monetize the information.

  Criminals monetize the data by selling the stolen information on the black market to other




                                                   22
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  criminals who then utilize the information to commit a variety of identity theft related crimes

  discussed below.

          89.     Because a person’s identity is akin to a puzzle with multiple data points, the more

  accurate pieces of data an identity thief obtains about a person, the easier it is for the thief to take

  on the victim’s identity – or track the victim to attempt other hacking crimes against the individual

  to obtain more data to perfect a crime.

          90.     For example, armed with just a name and date of birth, a data thief can utilize a

  hacking technique referred to as “social engineering” to obtain even more information about a

  victim’s identity, such as a person’s login credentials or Social Security number. Social

  engineering is a form of hacking whereby a data thief uses previously acquired information to

  manipulate and trick individuals into disclosing additional confidential or personal information

  through means such as spam phone calls and text messages or phishing emails. Data breaches are

  often the starting point for these additional targeted attacks on the victims.

          91.     The dark web is an unindexed layer of the internet that requires special software or

  authentication to access.17 Criminals in particular favor the dark web as it offers a degree of

  anonymity to visitors and website publishers. Unlike the traditional or ‘surface’ web, dark web

  users need to know the web address of the website they wish to visit in advance. For example, on

  the surface web, the CIA’s web address is cia.gov, but on the dark web the CIA’s web address is

  ciadotgov4sjwlzihbbgxnqg3xiyrg7so2r2o3lt5wz5ypk4sxyjstad.onion. 18 This prevents dark web

  marketplaces from being easily monitored by authorities or accessed by those not in the know.




  17
     What Is the Dark Web?, Experian, available at
  https://www.experian.com/blogs/ask-experian/what-is-the-dark-web/ (last accessed May 16,
  2023).
  18
     Id.
                                                    23
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          92.     A sophisticated black market exists on the dark web where criminals can buy or

  sell malware, firearms, drugs, and frequently, personal and medical information like the PII at

  issue here.19 The digital character of PII stolen in data breaches lends itself to dark web transactions

  because it is immediately transmissible over the internet and the buyer and seller can retain their

  anonymity. The sale of a firearm or drugs on the other hand requires a physical delivery address.

  Nefarious actors can readily purchase usernames and passwords for online streaming services,

  stolen financial information and account login credentials, and Social Security numbers, dates of

  birth, and medical information.20 As Microsoft warns “[t]he anonymity of the dark web lends itself

  well to those who would seek to do financial harm to others.” 21

          93.     Social Security numbers, for example, are among the worst kinds of personal

  information to have stolen because they may be put to numerous serious fraudulent uses and are

  difficult for an individual to change. The Social Security Administration stresses that the loss of

  an individual’s Social Security number, as is the case here, can lead to identity theft and extensive

  financial fraud:

          A dishonest person who has your Social Security number can use it to get other
          personal information about you. Identity thieves can use your number and your
          good credit to apply for more credit in your name. Then, they use the credit cards
          and don’t pay the bills, it damages your credit. You may not find out that someone
          is using your number until you’re turned down for credit, or you begin to get calls
          from unknown creditors demanding payment for items you never bought. Someone




  19
     What is the Dark Web? – Microsoft 365, available at
  https://www.microsoft.com/en-us/microsoft-365-life-hacks/privacy-and-safety/what-is-the-dark-
  web (last accessed May 16, 2023).
  20
     Id.; What Is the Dark Web?, Experian, available at
  https://www.experian.com/blogs/ask-experian/what-is-the-dark-web/
  21
     What is the Dark Web? – Microsoft 365, available at
  https://www.microsoft.com/en-us/microsoft-365-life-hacks/privacy-and-safety/what-is-the-dark-
  web
                                                    24
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         illegally using your Social Security number and assuming your identity can cause
         a lot of problems.22

         What’s more, it is no easy task to change or cancel a stolen Social Security number.
         An individual cannot obtain a new Social Security number without significant
         paperwork and evidence of actual misuse. In other words, preventive action to
         defend against the possibility of misuse of a Social Security number is not
         permitted; an individual must show evidence of actual, ongoing fraud activity to
         obtain a new number.

         94.     Even then, new Social Security number may not be effective, as “[t]he credit

  bureaus and banks are able to link the new number very quickly to the old number, so all of that

  old bad information is quickly inherited into the new Social Security number.” 23

         95.     Identity thieves can also use Social Security numbers to obtain a driver’s license or

  official identification card in the victim’s name but with the thief’s picture; use the victim’s name

  and Social Security number to obtain government benefits; or file a fraudulent tax return using the

  victim’s information. In addition, identity thieves may obtain a job using the victim’s Social

  Security number, rent a house or receive medical services in the victim’s name, and may even give

  the victim’s personal information to police during an arrest resulting in an arrest warrant being

  issued in the victim’s name. And the Social Security Administration has warned that identity

  thieves can use an individual’s Social Security number to apply for additional credit lines. 24




  22
     Social Security Administration, Identity Theft and Your Social Security Number, available at:
  https://www.ssa.gov/pubs/EN-05-10064.pdf (last accessed May 16, 2023).
  23
     Brian Naylor, Victims of Social Security Number Theft Find It’s Hard to Bounce Back, NPR
  (Feb. 9, 2015), http://www.npr.org/2015/02/09/384875839/data-stolen-by-anthem-s-hackers-has-
  millions-worrying-about-identity-theft (last visited Sep 13, 2022).
  24
     Identity Theft and Your Social Security Number, Social Security Administration, 1 (2018),
  https://www.ssa.gov/pubs/EN-05-10064.pdf (last visited Sep. 13, 2022).
                                                   25
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          96.    According to the FBI’s Internet Crime Complaint Center (IC3) 2019 Internet Crime

  Report, Internet-enabled crimes reached their highest number of complaints and dollar losses that

  year, resulting in more than $3.5 billion in losses to individuals and business victims. 25

          97.    Further, according to the same report, “rapid reporting can help law enforcement

  stop fraudulent transactions before a victim loses the money for good.” 26 Defendant did not rapidly

  report to Plaintiff and the Class that their Private Information had been stolen.

          98.    Victims of identity theft also often suffer embarrassment, blackmail, or harassment

  in person or online, and/or experience financial losses resulting from fraudulently opened accounts

  or misuse of existing accounts.

          99.    In addition to out-of-pocket expenses that can exceed thousands of dollars and the

  emotional toll identity theft can take, some victims have to spend a considerable time repairing the

  damage caused by the theft of their PII. Victims of new account identity theft will likely have to

  spend time correcting fraudulent information in their credit reports and continuously monitor their

  reports for future inaccuracies, close existing bank/credit accounts, open new ones, and dispute

  charges with creditors.

          100.   Further complicating the issues faced by victims of identity theft, data thieves may

  wait years before attempting to use the stolen PII. To protect themselves, Plaintiff and Class

  Members will need to remain vigilant against unauthorized data use for years or even decades to

  come.

          101.   The Federal Trade Commission (“FTC”) has also recognized that consumer data is

  a new and valuable form of currency. In an FTC roundtable presentation, former Commissioner



  25
     See https://www.fbi.gov/news/stories/2019-internet-crime-report-released-021120 (last
  accessed October 21, 2022).
  26
     Id.
                                                   26
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  Pamela Jones Harbour stated that “most consumers cannot begin to comprehend the types and

  amount of information collected by businesses, or why their information may be commercially

  valuable. Data is currency. The larger the data set, the greater potential for analysis and profit.” 27

         102.    The FTC has also issued numerous guidelines for businesses that highlight the

  importance of reasonable data security practices. The FTC has noted the need to factor data

  security into all business decision-making. According to the FTC, data security requires: (1)

  encrypting information stored on computer networks; (2) retaining payment card information only

  as long as necessary; (3) properly disposing of personal information that is no longer needed; (4)

  limiting administrative access to business systems; (5) using industry-tested and accepted methods

  for securing data; (6) monitoring activity on networks to uncover unapproved activity; (7)

  verifying that privacy and security features function properly; (8) testing for common

  vulnerabilities; and (9) updating and patching third-party software. 28

         103.    According to the FTC, unauthorized PII disclosures are extremely damaging to

  consumers’ finances, credit history and reputation, and can take time, money and patience to

  resolve the fallout. The FTC treats the failure to employ reasonable and appropriate measures to

  protect against unauthorized access to confidential consumer data as an unfair act or practice

  prohibited by Section 5(a) of the FTC Act. 29

         104.    Defendant’s failure to properly notify Plaintiff and Class Members of the Data

  Breach exacerbated Plaintiff’s and Class Members’ injury by depriving them of the earliest ability



  27
     Statement of FTC Commissioner Pamela Jones Harbour (Remarks Before FTC Exploring
  Privacy Roundtable), http://www.ftc.gov/speeches/harbour/091207privacyroundtable.pdf (last
  visited May 28, 2015).
  28
     See generally https://www.ftc.gov/business-guidance/resources/protecting-personal-
  information-guide-business.
  29
     See e.g., https://www.ftc.gov/news-events/news/press-releases/2016/07/commission-finds-
  labmd-liable-unfair-data-security-practices (last accessed: October 21, 2022).
                                                    27
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  to take appropriate measures to protect their PII and take other necessary steps to mitigate the harm

  caused by the Data Breach.

                   Loss of Time to Mitigate the Risk of Identity Theft and Fraud

          105.   As a result of the recognized risk of identity theft, when a Data Breach occurs, and

  an individual is notified by a company that their Private Information was compromised, as in this

  Data Breach, the reasonable person is expected to take steps and spend time to address the

  dangerous situation, learn about the breach, and otherwise mitigate the risk of becoming a victim

  of identity theft of fraud. Failure to spend time taking steps to review accounts or credit reports

  could expose the individual to greater financial harm – yet, the resource and asset of time has been

  lost.

          106.   Thus, due to the actual and imminent risk of identity theft, Plaintiff and Class

  Members must, as Defendant’s Notice instructs them, “check [their] bills and accounts to be sure

  they look correct.”

          107.   Plaintiff and Class Members have spent, and will spend additional time in the

  future, on a variety of prudent actions, such as placing “freezes” and “alerts” with credit reporting

  agencies, contacting financial institutions, closing or modifying financial accounts, changing

  passwords, reviewing and monitoring credit reports and accounts for unauthorized activity—

  which may take years to discover and detect—and filing police reports.

          108.   Plaintiff’s mitigation efforts are consistent with the U.S. Government

  Accountability Office, who released a report in 2007 regarding data breaches (“GAO Report”) in




                                                   28
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  which it noted that victims of identity theft will face “substantial costs and time to repair the

  damage to their good name and credit record.” 30

          109.    Plaintiff’s mitigation efforts are also consistent with the steps that FTC

  recommends that data breach victims take to protect their personal and financial information after

  a data breach, including: contacting one of the credit bureaus to place a fraud alert (and consider

  an extended fraud alert that lasts for seven years if someone steals their identity), reviewing their

  credit reports, contacting companies to remove fraudulent charges from their accounts, placing a

  credit freeze on their credit, and correcting their credit reports. 31

          110.    A study by Identity Theft Resource Center shows the multitude of harms caused by

  fraudulent use of personal and financial information:32




  30
     See United States Government Accountability Office, GAO-07-737, Personal Information:
  Data Breaches Are Frequent, but Evidence of Resulting Identity Theft Is Limited; However, the
  Full Extent Is Unknown (June 2007), https://www.gao.gov/new.items/d07737.pdf.
  31
     See Federal Trade Commission, IdentityTheft.com, https://www.identitytheft.gov/Steps (last
  visited July 7, 2022).
  32
     “Credit Card and ID Theft Statistics” by Jason Steele, 10/24/2017, at:
  https://www.creditcards.com/credit-card-news/credit-card-security-id-theft-fraud-statistics-
  1276.php (last visited Sep 13, 2022).
                                                     29
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          111.    In the event that Plaintiff and Class Members experience actual identity theft and

  fraud, the United States Government Accountability Office released a report in 2007 regarding

  data breaches (“GAO Report”) in which it noted that victims of identity theft will face “substantial

  costs and time to repair the damage to their good name and credit record.” 33 Indeed, the FTC

  recommends that identity theft victims take several steps and spend time to protect their personal

  and financial information after a data breach, including contacting one of the credit bureaus to

  place a fraud alert (consider an extended fraud alert that lasts for 7 years if someone steals their

  identity), reviewing their credit reports, contacting companies to remove fraudulent charges from

  their accounts, placing a credit freeze on their credit, and correcting their credit reports. 34

                            Diminution of Value of the Private Information

          112.    PII is a valuable property right.35 Its value is axiomatic, considering the value of

  Big Data in corporate America and the consequences of cyber thefts include heavy prison

  sentences. Even this obvious risk to reward analysis illustrates beyond doubt that Private

  Information has considerable market value.

          113.    For example, drug manufacturers, medical device manufacturers, pharmacies,

  hospitals and other healthcare service providers often purchase PII/PHI on the black market for

  the purpose of target-marketing their products and services to the physical maladies of the data

  breach victims themselves.




  33
     See “Data Breaches Are Frequent, but Evidence of Resulting Identity Theft Is Limited;
  However, the Full Extent Is Unknown,” p. 2, U.S. Government Accountability Office, June
  2007, https://www.gao.gov/new.items/d07737.pdf (last visited Sep. 13, 2022) (“GAO Report”).
  34
     See https://www.identitytheft.gov/Steps (last visited Sep. 13, 2022).
  35
     See, e.g., John T. Soma, et al, Corporate Privacy Trend: The “Value” of Personally Identifiable
  Information (“PII”) Equals the “Value" of Financial Assets, 15 Rich. J.L. & Tech. 11, at *3-4
  (2009) (“PII, which companies obtain at little cost, has quantifiable value that is rapidly reaching
  a level comparable to the value of traditional financial assets.”) (citations omitted).
                                                     30
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          114.    Sensitive Private Information can sell for as much as $363 per record according to

  the Infosec Institute.36

          115.    Medical information is especially valuable to identity thieves. According to account

  monitoring company LogDog, medical data was selling on the dark web for $50 and up. 37

          116.    An active and robust legitimate marketplace for Private Information also exists. In

  2019, the data brokering industry was worth roughly $200 billion. 38 In fact, the data marketplace

  is so sophisticated that consumers can actually sell their non-public information directly to a data

  broker who in turn aggregates the information and provides it to marketers or app developers. 39 40

  Consumers who agree to provide their web browsing history to the Nielsen Corporation can

  receive up to $50.00 a year.41

          117.    As a result of the Data Breach, Plaintiff’s and Class Members’ Private Information,

  which has an inherent market value in both legitimate and dark markets, has been damaged and

  diminished in its value by its unauthorized and potential release onto the Dark Web, where it may

  soon be available and holds significant value for the threat actors.

          118.    To date, Defendant has done little to provide Plaintiff and Class Members with

  relief for the damages they have suffered as a result of the Data Breach – Defendant has only

  offered one year of inadequate identity monitoring services through IDX, despite Plaintiff and




  36
     See Ashiq Ja, Hackers Selling Healthcare Data in the Black Market, InfoSec
  (July 27, 2015), https://resources.infosecinstitute.com/topic/hackers-selling-healthcare-data-in-
  the-black-market/ (last visited Sep. 13, 2022).
  37
     https://nakedsecurity.sophos.com/2019/10/03/ransomware-attacks-paralyze-and-sometimes-
  crush-hospitals/#content (last visited Sep 13, 2022).
  38
     https://www.latimes.com/business/story/2019-11-05/column-data-brokers
  39
     https://datacoup.com/
  40
     https://digi.me/what-is-digime/
  41
     Nielsen Computer & Mobile Panel, Frequently Asked Questions, available at
  https://computermobilepanel.nielsen.com/ui/US/en/faqen.html.
                                                   31
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  Class Members being at risk of identity theft and fraud for the foreseeable future. Defendant has

  not offered any other relief or protection.

         119.    The one year of credit monitoring offered to persons whose Private Information

  was compromised is wholly inadequate as it fails to provide for the fact that victims of data

  breaches and other unauthorized disclosures commonly face multiple years of ongoing identity

  theft and financial fraud. Defendant also places the burden squarely on Plaintiff and Class

  Members by requiring them to expend time signing up for that service, as opposed to automatically

  enrolling all victims of this Data Breach.

         120.    Given the type of targeted attack in this case and sophisticated criminal activity,

  the type of Private Information, and the modus operandi of cybercriminals, there is a strong

  probability that entire batches of stolen information have been placed, or will be placed, on the

  black market/dark web for sale and purchase by criminals intending to utilize the Private

  Information for identity theft crimes – e.g., opening bank accounts in the victims’ names to make

  purchases or to launder money; file false tax returns; take out loans or lines of credit; or file false

  unemployment claims.

         121.    It must be noted there may be a substantial time lag – measured in years – between

  when harm occurs versus when it is discovered, and also between when Private Information and/or

  financial information is stolen and when it is used. According to the U.S. Government

  Accountability Office, which conducted a study regarding data breaches:

         [L]aw enforcement officials told us that in some cases, stolen data may be held for
         up to a year or more before being used to commit identity theft. Further, once stolen
         data have been sold or posted on the Web, fraudulent use of that information may
         continue for years. As a result, studies that attempt to measure the harm resulting
         from data breaches cannot necessarily rule out all future harm.

     See GAO Report, at p. 29.



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          122.     Such fraud may go undetected until debt collection calls commence months, or even

  years, later. An individual may not know that his or her Social Security Number was used to file

  for unemployment benefits until law enforcement notifies the individual’s employer of the

  suspected fraud. Fraudulent tax returns are typically discovered only when an individual’s

  authentic tax return is rejected.

          123.     Furthermore, the information accessed and disseminated in the Data Breach is

  significantly more valuable than the loss of, for example, credit card information in a retailer data

  breach, where victims can easily cancel or close credit and debit card accounts. 42 The information

  disclosed in this Data Breach is impossible to “close” and difficult, if not impossible, to change

  (such as Social Security numbers).

          124.     Consequently, Plaintiff and Class Members are at a present and ongoing risk of

  fraud and identity theft for many years into the future.

          125.     The retail cost of credit monitoring and identity theft monitoring can cost around

  $200 a year per Class Member. This is a reasonable and necessary cost to protect Class Members

  from the risk of identity theft that arose from Defendant’s Data Breach. This is a future cost for a

  minimum of five years that Plaintiff and Class Members would not need to bear but for

  Defendant’s failure to safeguard their Private Information.

                 Injunctive Relief Is Necessary to Protect Against Future Data Breaches

          126.     Moreover, Plaintiff and Class Members have an interest in ensuring that their

  Private Information, which is believed to remain in the possession of Defendant, is protected from



  42
    See Jesse Damiani, Your Social Security Number Costs $4 On The Dark Web, New Report
  Finds, FORBES (Mar. 25, 2020), https://www.forbes.com/sites/jessedamiani/2020/03/25/your-
  social-security-number-costs-4-on-the-dark-web-new-report-finds/?sh=6a44b6d513f1 (last
  accessed May 16, 2023).


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  further breaches by the implementation of security measures and safeguards, including but not

  limited to, making sure that the storage of data or documents containing Private Information is not

  accessible online and that access to such data is password protected.

                                CLASS ACTION ALLEGATIONS

         127.    Plaintiff brings this nationwide class action on behalf of herself and on behalf of

  others similarly situated pursuant to Rule 23(b)(2), 23(b)(3), and 23(c)(4) of the Federal Rules of

  Civil Procedure.

         128.    The Nationwide Class that Plaintiff seeks to represent is defined as follows:

                 All persons whose Private Information was actually or potentially accessed
                 or acquired during the Data Breach for which Defendant Managed Care of
                 North America, Inc. provided notice to Plaintiff and other Class Members
                 beginning on or around May 26, 2023 (the “Class”).

         129.    Excluded from the Class are the following individuals and/or entities: Defendant

  and Defendant’s parents, subsidiaries, affiliates, officers and directors, and any entity in which

  Defendant has a controlling interest; all individuals who make a timely election to be excluded

  from this proceeding using the correct protocol for opting out; any and all federal, state or local

  governments, including but not limited to their departments, agencies, divisions, bureaus, boards,

  sections, groups, counsels and/or subdivisions; and all judges assigned to hear any aspect of this

  litigation, as well as their immediate family members.

         130.    Plaintiff reserves the right to modify or amend the definition of the proposed classes

  before the Court determines whether certification is appropriate.

         131.    Numerosity, Fed. R. Civ. P. 23(a)(1): Class Members are so numerous that joinder

  of all members is impracticable. Upon information and belief, there are between 8,861,076 and




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  8,923,662 individuals whose Private Information may have been improperly accessed in the Data

  Breach, and each Class is apparently identifiable within Defendant’s records. 43

         132.    Commonality, Fed. R. Civ. P. 23(a)(2) and (b)(3): Questions of law and fact

  common to the Classes exist and predominate over any questions affecting only individual Class

  Members. These include:

         a) Whether and to what extent Defendant had a duty to protect the Private
            Information of Plaintiff and Class Members;
         b) Whether Defendant had duties not to disclose the Private Information of
            Plaintiff and Class Members to unauthorized third parties;
         c) Whether Defendant had duties not to use the Private Information of Plaintiff
            and Class Members for non-business purposes;
         d) Whether Defendant failed to adequately safeguard the Private Information of
            Plaintiff and Class Members;
         e) Whether and when Defendant actually learned of the Data Breach;
         f) Whether Defendant adequately, promptly, and accurately informed Plaintiff
            and Class Members that their PII had been compromised;
         g) Whether Defendant violated the law by failing to promptly notify Plaintiff and
            Class Members that their PII had been compromised;
         h) Whether Defendant failed to implement and maintain reasonable security
            procedures and practices appropriate to the nature and scope of the information
            compromised in the Data Breach;
         i) Whether Defendant adequately addressed and fixed the vulnerabilities which
            permitted the Data Breach to occur;
         j) Whether Defendant engaged in unfair, unlawful, or deceptive practices by
            failing to safeguard the Private Information of Plaintiff and Class Members;
         k) Whether Defendant violated the consumer protection statutes invoked herein;
         l) Whether Plaintiff and Class Members are entitled to actual, consequential,
            and/or nominal damages as a result of Defendant’s wrongful conduct;
         m) Whether Plaintiff and Class Members are entitled to restitution as a result of
            Defendant’s wrongful conduct; and
         n) Whether Plaintiff and Class Members are entitled to injunctive relief to redress
            the imminent and currently ongoing harm faced as a result of the Data Breach.




  43
     Breach Portal, U.S. Dept of Health and Hum. Servs.,
  https://ocrportal.hhs.gov/ocr/breach/breach_report.jsf (last visited June 8, 2023).
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         133.    Typicality, Fed. R. Civ. P. 23(a)(3): Plaintiff’s claims are typical of those of other

  Class Members because all had their Private Information compromised as a result of the Data

  Breach, due to Defendant’s misfeasance.

         134.    Predominance. Defendant has engaged in a common course of conduct toward

  Plaintiff and Class Members, in that all the Plaintiff’s and Class Members’ data was stored on the

  same computer systems and unlawfully accessed in the same way. The common issues arising

  from Defendant’s conduct affecting Class Members set out above predominate over any

  individualized issues. Adjudication of these common issues in a single action has important and

  desirable advantages of judicial economy. Defendant’s policies challenged herein apply to and

  affect Class Members uniformly and Plaintiff’s challenge of these policies hinges on Defendant’s

  conduct with respect to the Class as a whole, not on facts or law applicable only to Plaintiff.

         135.    Adequacy of Representation, Fed. R. Civ. P. 23(a)(4): Plaintiff will fairly and

  adequately represent and protect the interests of the Class Members in that Plaintiff has no

  disabling conflicts of interest that would be antagonistic to those of the other Members of the Class.

  Plaintiff seeks no relief that is antagonistic or adverse to the Members of the Class and the

  infringement of the rights and the damages Plaintiff has suffered are typical of other Class

  Members. Plaintiff has also retained counsel experienced in complex class action litigation, and

  Plaintiff intends to prosecute this action vigorously.

         136.    Superiority, Fed. R. Civ. P. 23(b)(3): Class litigation is an appropriate method for

  fair and efficient adjudication of the claims involved. Class action treatment is superior to all other

  available methods for the fair and efficient adjudication of the controversy alleged herein; it will

  permit a large number of Class Members to prosecute their common claims in a single forum

  simultaneously, efficiently, and without the unnecessary duplication of evidence, effort, and



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  expense that hundreds of individual actions would require. Class action treatment will permit the

  adjudication of relatively modest claims by certain Class Members, who could not individually

  afford to litigate a complex claim against large corporations, like Defendant. Further, even for

  those Class Members who could afford to litigate such a claim, it would still be economically

  impractical and impose a burden on the courts.

          137.    The nature of this action and the nature of laws available to Plaintiff and Class

  Members make the use of the class action device a particularly efficient and appropriate procedure

  to afford relief to Plaintiff and Class Members for the wrongs alleged because Defendant would

  necessarily gain an unconscionable advantage since it would be able to exploit and overwhelm the

  limited resources of each individual Class Member with superior financial and legal resources; the

  costs of individual suits could unreasonably consume the amounts that would be recovered; proof

  of a common course of conduct to which Plaintiff was exposed is representative of that experienced

  by the Class and will establish the right of each Class Member to recover on the cause of action

  alleged; and individual actions would create a risk of inconsistent results and would be unnecessary

  and duplicative of this litigation.

          138.    The litigation of the claims brought herein is manageable. Defendant’s uniform

  conduct, uniform methods of data collection, the consistent provisions of the relevant laws, and

  the ascertainable identities of Class Members demonstrates that there would be no significant

  manageability problems with prosecuting this lawsuit as a class action.

          139.    Adequate notice can be given to Class Members directly using information

  maintained in Defendant’s records.

          140.    Unless a Class-wide injunction is issued, Defendant may continue in its failure to

  properly secure the Private Information of Class Members, Defendant may continue to refuse to



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  provide proper notification to Class Members regarding the Data Breach, and Defendant may

  continue to act unlawfully as set forth in this Complaint.

         141.    Further, Defendant has acted or refused to act on grounds generally applicable to

  the Class and, accordingly, class certification, injunctive relief, and corresponding declaratory

  relief are appropriate on a Class-wide basis.

         142.    Likewise, particular issues under Rule 23(c)(4) are appropriate for certification

  because such claims present only particular, common issues, the resolution of which would

  advance the disposition of this matter and the parties’ interests therein. Such particular issues

  include, but are not limited to:

         a.      Whether Defendant owed a legal duty to Plaintiff and Class Members to

                 exercise due care in collecting, storing, using, and safeguarding their Private

                 Information;

         b.      Whether Defendant breached a legal duty to Plaintiff and Class Members to

                 exercise due care in collecting, storing, using, and safeguarding their Private

                 Information;

         c.      Whether Defendant failed to comply with its own policies and applicable

                 laws, regulations, and industry standards relating to data security;

         d.      Whether an implied contract existed between Defendant on the one hand,

                 and Plaintiff and Class Members on the other, and the terms of that implied

                 contract;

         e.      Whether Defendant breached the implied contract;

         f.      Whether Defendant adequately and accurately informed Plaintiff and Class

                 Members that their Private Information had been compromised;



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         g.       Whether Defendant failed to implement and maintain reasonable security

                  procedures and practices appropriate to the nature and scope of the

                  information compromised in the Data Breach;

         h.       Whether Defendant engaged in unfair, unlawful, or deceptive practices by

                  failing to safeguard the Private Information of Plaintiff and Class Members;

                  and

         i.       Whether Class Members are entitled to actual, consequential, and/or

                  nominal damages, and/or injunctive relief as a result of Defendant’s

                  wrongful conduct.

                                       CAUSES OF ACTION

                                            COUNT I
                                         NEGLIGENCE
                          (On Behalf of Plaintiff and All Class Members)

         143.     Plaintiff and the Class repeat paragraphs 1 – 142 of the Complaint as if fully set

  forth herein.

         144.     Upon gaining access to the PII of Plaintiff and members of the Class, Defendant

  owed to Plaintiff and the Class a duty of reasonable care in handling and using this information

  and securing and protecting the information from being stolen, accessed, and misused by

  unauthorized parties. Pursuant to this duty, Defendant was required to design, maintain, and test

  their security systems to ensure that these systems were reasonably secure and capable of

  protecting the PII of Plaintiff and the Class. Defendant further owed to Plaintiff and the Class a

  duty to implement systems and procedures that would detect a breach of their security systems in

  a timely manner and to timely act upon security alerts from such systems.




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          145.    Defendant owed this duty to Plaintiff and the other Class members because Plaintiff

  and the other Class members compose a well-defined, foreseeable, and probable class of

  individuals whom Defendant should have been aware could be injured by Defendant’s inadequate

  security protocols. Defendant actively solicited clients who entrusted Defendant with Plaintiff’s

  and the other Class members’ PII when obtaining and using Defendant’s services. To facilitate

  these services, Defendant used, handled, gathered, and stored the PII of Plaintiff and the other

  Class members. Attendant to Defendant’s solicitation, use and storage, Defendant knew of its

  inadequate and unreasonable security practices with regard to their computer/server systems and

  also knew that hackers and thieves routinely attempt to access, steal and misuse the PII that

  Defendant actively solicited from clients who entrusted Defendant with Plaintiff’s and the other

  Class members’ data. As such, Defendant knew a breach of its systems would cause damage to its

  clients and Plaintiff and the other Class members. Thus, Defendant had a duty to act reasonably in

  protecting the PII of its healthcare clients’ patients.

          146.    The duty included obligations to take reasonable steps to prevent disclosure of the

  Private Information, and to safeguard the information from theft. Defendant’s duties included the

  responsibility to design, implement, and monitor data security systems, policies, and processes to

  protect against reasonably foreseeable data breaches such as this Data Breach.

          147.    Defendant owed a duty of care to Plaintiff and Class Members to provide data

  security consistent with industry standards and other requirements discussed herein, and to ensure

  that its systems and networks, policies, and procedures, and the personnel responsible for them,

  adequately protected the Private Information.

          148.    Defendant’s duty of care to use reasonable security measures arose as a result of

  the special relationship that existed between Defendant and its patients, which is recognized by



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  laws and regulations including but not limited to the FTC Act, and common law. Defendant was

  in a position to ensure that its systems were sufficient to protect against the foreseeable risk of

  harm to Class Members from a data breach.

           149.   Defendant had a duty to employ reasonable security measures under Section 5 of

  the Federal Trade Commission Act, 15 U.S.C. § 45, which prohibits “unfair . . . practices in or

  affecting commerce,” including, as interpreted and enforced by the FTC, the unfair practice of

  failing to use reasonable measures to protect confidential data.

           150.   Defendant’s duty to use reasonable care in protecting confidential data arose not

  only as a result of the statutes and regulations described above, but also because Defendant is

  bound by industry standards to protect confidential Private Information that it either acquires,

  maintains, or stores.

           151.   Defendant breached its duties, and thus were negligent, by failing to use reasonable

  measures to protect Plaintiff’s and Class Members’ Private Information, as alleged and discussed

  above.

           152.   It was foreseeable that Defendant’s failure to use reasonable measures to protect

  Class Members’ Private Information would result in injury to Plaintiff and Class Members.

  Further, the breach of security was reasonably foreseeable given the known high frequency of

  cyberattacks and data breaches in the healthcare industry.

           153.   It was therefore foreseeable that the failure to adequately safeguard Class Members’

  Private Information would result in one or more types of injuries to Class Members.

           154.   The imposition of a duty of care on Defendant to safeguard the Private Information

  they maintained is appropriate because any social utility of Defendant’s conduct is outweighed by

  the injuries suffered by Plaintiff and Class Members as a result of the Data Breach.



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         155.    As a direct and proximate result of Defendant’s negligence, Plaintiff and Class

  Members are at a current and ongoing risk of identity theft, and Plaintiff and Class Members

  sustained compensatory damages including: (a) invasion of privacy; (b) financial “out of pocket”

  costs incurred mitigating the materialized risk and imminent threat of identity theft; (c) loss of time

  and loss of productivity incurred mitigating the materialized risk and imminent threat of identity

  theft risk; (d) financial “out of pocket” costs incurred due to actual identity theft; (e) loss of time

  incurred due to actual identity theft; (f) loss of time due to increased spam and targeted marketing

  emails; (g) diminution of value of their Private Information; (h) future costs of identity theft

  monitoring; (i) anxiety, annoyance and nuisance, and (j) the continued risk to their Private

  Information, which remains in Defendant’s possession, and which is subject to further breaches,

  so long as Defendant fails to undertake appropriate and adequate measures to protect Plaintiff’s

  and Class Members’ Private Information.

         156.    Plaintiff and Class Members are entitled to compensatory and consequential

  damages suffered as a result of the Data Breach.

         157.    Defendant’s negligent conduct is ongoing, in that it still holds the Private

  Information of Plaintiff and Class Members in an unsafe and unsecure manner.

         158.    Plaintiff and Class Members are also entitled to injunctive relief requiring

  Defendant to (i) strengthen their data security systems and monitoring procedures; (ii) submit to

  future annual audits of those systems and monitoring procedures; and (iii) continue to provide

  adequate credit monitoring to all Class Members.

                                             COUNT II
                                     NEGLIGENCE PER SE
                           (On Behalf of Plaintiff and All Class Members)




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            159.   Plaintiff and the Class repeat and re-allege paragraphs 1 -142 of the Complaint as

  if fully set forth herein.

            160.   Pursuant to Federal Trade Commission, 15 U.S.C. § 45, Defendant had a duty to

  provide fair and adequate computer systems and data security practices to safeguard Plaintiff’s and

  Class Members’ Private Information.

            161.   Section 5 of the FTC Act prohibits “unfair . . . practices in or affecting commerce,”

  including, as interpreted and enforced by the FTC, the unfair act or practice by businesses, such as

  Defendant’s, of failing to use reasonable measures to protect Private Information. The FTC

  publications and orders described above also form part of the basis of Defendant’s duty in this

  regard.

            162.   Defendant violated Section 5 of the FTC Act by failing to use reasonable measures

  to protect Private Information and not complying with applicable industry standards. Defendant’s

  conduct was particularly unreasonable given the nature and amount of Private Information it

  obtained and stored, and the foreseeable consequences of the Data Breach for companies of

  Defendant’s magnitude, including, specifically, the immense damages that would result to Plaintiff

  and Class Members due to the valuable nature of the Private Information at issue in this case—

  including Social Security numbers.

            163.   Defendant’s violations of Section 5 of the FTC Act constitute negligence per se.

            164.   Plaintiff and Class Member are within the class of persons that the FTC Act was

  intended to protect.

            165.   The harm that occurred as a result of the Data Breach is the type of harm the FTC

  Act was intended to guard against. The FTC has pursued enforcement actions against businesses,




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  which, as a result of its failure to employ reasonable data security measures and avoid unfair and

  deceptive practices, caused the same harm as that suffered by Plaintiff and members of the Class.

         166.    Plaintiff and Class Members are entitled to compensatory, consequential, and

  nominal damages suffered as a result of the Data Breach.

         167.    Plaintiff seek to remedy these harms on behalf of themselves and all similarly

  situated and “impacted” individuals whose Private Information was accessed during the Data

  Breach, including: (a) invasion of privacy; (b) financial “out of pocket” costs incurred mitigating

  the materialized risk and imminent threat of identity theft; (c) loss of time and loss of productivity

  incurred mitigating the materialized risk and imminent threat of identity theft risk; (d) financial

  “out of pocket” costs incurred due to actual identity theft; (e) loss of time incurred due to actual

  identity theft; (f) loss of time due to increased spam and targeted marketing emails; (g) diminution

  of value of their Private Information; (h) anxiety, annoyance and nuisance, (i) nominal damages,

  and (j) the future costs of identity theft monitoring.

         168.    Moreover, Plaintiff’s and Class Members’ Private Information remains at risk, so

  long as Defendant fails to undertake appropriate and adequate measures to protect Plaintiff’s and

  Class Members’ Private Information.

         169.    Therefore, Plaintiff and Class Members are also entitled to injunctive relief

  requiring Defendant to, e.g., (i) strengthen its data security systems and monitoring procedures;

  (ii) submit to future annual audits of those systems and monitoring procedures; and (iii)

  immediately provide adequate credit and identity theft monitoring to all Class Members.

                                            COUNT III
                                    INVASION OF PRIVACY
                           (On Behalf of Plaintiff and All Class Members)




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          170.    Plaintiff and the Class repeat and re-allege paragraphs 1 – 142 of the Complaint as

  if fully set forth herein.

          171.    Plaintiff and Class Members had a reasonable expectation of privacy in the Private

  Information Defendant mishandled.

          172.    As a result of Defendant’s conduct, publicity was given to Plaintiff’s and Class

  Members’ Private Information, which necessarily includes matters concerning their private life

  such as PII.

          173.    A reasonable person of ordinary sensibilities would consider the publication of

  Plaintiff’s and Class Members’ Private Information to be highly offensive.

          174.    Plaintiff’s and Class Members’ Private Information is not of legitimate public

  concern and should remain private.

          175.    As a direct and proximate result of Defendant’s public disclosure of private facts,

  Plaintiff and Class Members are at a current and ongoing risk of identity theft and sustained

  compensatory damages including: (a) invasion of privacy; (b) financial “out of pocket” costs

  incurred mitigating the materialized risk and imminent threat of identity theft; (c) loss of time and

  loss of productivity incurred mitigating the materialized risk and imminent threat of identity theft

  risk; (d) financial “out of pocket” costs incurred due to actual identity theft; (e) loss of time

  incurred due to actual identity theft; (f) loss of time due to increased spam and targeted marketing

  emails; (g) diminution of value of their Private Information; (h) future costs of identity theft

  monitoring; (i) anxiety, annoyance and nuisance, and (j) the continued risk to their Private

  Information, which remains in Defendant’s possession, and which is subject to further breaches,

  so long as Defendant fails to undertake appropriate and adequate measures to protect Plaintiff’s

  and Class Members’ Private Information.



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            176.   Plaintiff and Class Members are entitled to compensatory, consequential, and

  nominal damages suffered as a result of the Data Breach.

            177.   Plaintiff and Class Members are also entitled to injunctive relief requiring

  Defendant to, e.g., (i) strengthen its data security systems and monitoring procedures; (ii) submit

  to future annual audits of those systems and monitoring procedures; and (iii) immediately provide

  adequate credit monitoring to all Class Members.

                                             COUNT IV
                           DECLARATORY AND INJUNCTIVE RELIEF
                           (On Behalf of Plaintiff and All Class Members)

            178.   Plaintiff and the Class repeat and re-allege paragraphs 1 – 142 of the Complaint as

  if fully set forth herein.

            179.   Plaintiff pursues this claim under the Federal Declaratory Judgment Act, 28 U.S.C.

  § 2201.

            180.   Under the Declaratory Judgment Act, 28 U.S.C. §§ 2201, et seq., this Court is

  authorized to enter a judgment declaring the rights and legal relations of the parties and granting

  further necessary relief. Furthermore, the Court has broad authority to restrain acts, such as here,

  that are tortious and violate the terms of the federal statutes described in this Complaint.

            181.   An actual controversy has arisen in the wake of the Data Breach regarding

  Defendant’s present and prospective common law and other duties to reasonably safeguard

  Plaintiff’s and Class Members’ Private Information, and whether Defendant is currently

  maintaining data security measures adequate to protect Plaintiff and Class Members from future

  data breaches that compromise their Private Information. Plaintiff and the Class remain at

  imminent risk that further compromises of their Private Information will occur in the future.




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         182.    The Court should also issue prospective injunctive relief requiring Defendant to

  employ adequate security practices consistent with law and industry standards to protect employee

  and patient Private Information.

         183.    Defendant still possesses the Private Information of Plaintiff and the Class.

         184.    To Plaintiff’s knowledge, Defendant has made no announcement that it has

  changed its data storage or security practices relating to the Private Information, beyond the vague

  claim in the Data Breach Letter that it is “making [its] computer systems even stronger than before

  because [it does] not want this to happen again.”

         185.    To Plaintiff’s knowledge, Defendant has made no announcement or notification

  that it has remedied the vulnerabilities and negligent data security practices that led to the Data

  Breach.

         186.    If an injunction is not issued, Plaintiff and the Class will suffer irreparable injury

  and lack an adequate legal remedy in the event of another data breach at MCNA Dental. The risk

  of another such breach is real, immediate, and substantial.

         187.    As described above, actual harm has arisen in the wake of the Data Breach

  regarding Defendant’s contractual obligations and duties of care to provide security measures to

  Plaintiff and Class Members. Further, Plaintiff and Class members are at risk of additional or

  further harm due to the exposure of their Private Information and Defendant’s failure to address

  the security failings that led to such exposure.

         188.    There is no reason to believe that Defendant’s employee training and security

  measures are any more adequate now than they were before the breach to meet Defendant’s

  contractual obligations and legal duties.




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         189.     The hardship to Plaintiff and Class Members if an injunction does not issue

  exceeds the hardship to Defendant if an injunction is issued. Among other things, if another data

  breach occurs at MCNA Dental, Plaintiff and Class Members will likely continue to be subjected

  to fraud, identify theft, and other harms described herein. On the other hand, the cost to Defendant

  of complying with an injunction by employing reasonable prospective data security measures is

  relatively minimal, and Defendant has a pre-existing legal obligation to employ such measures.

         190.    Issuance of the requested injunction will not disserve the public interest. To the

  contrary, such an injunction would benefit the public by preventing another data breach at MCNA

  Dental, thus eliminating the additional injuries that would result to Plaintiff and Class.

         191.    Plaintiff and Class Members, therefore, seek a declaration (1) that Defendant’s

  existing data security measures do not comply with its contractual obligations and duties of care

  to provide adequate data security, and (2) that to comply with its contractual obligations and duties

  of care, Defendant must implement and maintain reasonable security measures, including, but not

  limited to, the following:

         a.      Ordering that Defendant engage internal security personnel to conduct
                 testing, including audits on Defendant’s systems, on a periodic basis, and
                 ordering Defendant to promptly correct any problems or issues detected by
                 such third-party security auditors;
         b.      Ordering that Defendant engage third-party security auditors and internal
                 personnel to run automated security monitoring;
         c.      Ordering that Defendant audit, test, and train its security personnel and
                 employees regarding any new or modified data security policies and
                 procedures;
         d.      Ordering that Defendant purge, delete, and destroy, in a reasonably secure
                 manner, any Private Information not necessary for its provision of services;




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         e.     Ordering that Defendant conduct regular database scanning and security
                checks; and
         f.     Ordering that Defendant routinely and continually conduct internal training
                and education to inform internal security personnel and employees how to
                safely share and maintain highly sensitive personal information, including
                but not limited to, client personally identifiable information.
                                      PRAYER FOR RELIEF

         WHEREFORE, Plaintiff, on behalf of herself and Class Members, requests judgment

  against Defendant and that the Court grant the following:

         A.     For an Order certifying the Class, and appointing Plaintiff and her Counsel

                to represent the Class;

         B.     For equitable relief enjoining Defendant from engaging in the wrongful

                conduct complained of herein pertaining to the misuse and/or disclosure of

                the PII of Plaintiff and Class Members, and from refusing to issue prompt,

                complete, any accurate disclosures to Plaintiff and Class Members;

         C.     For injunctive relief requested by Plaintiff, including, but not limited to,

                injunctive and other equitable relief as is necessary to protect the interests

                of Plaintiff and Class Members, including but not limited to an order:

                i.      prohibiting Defendant from engaging in the wrongful and unlawful

                        acts described herein;

                ii.     requiring Defendant to protect, including through encryption, all

                        data collected through the course of its business in accordance with

                        all applicable regulations, industry standards, and federal, state or

                        local laws;




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             iii.    requiring Defendant to delete, destroy, and purge the personal

                     identifying information of Plaintiff and Class Members unless

                     Defendant can provide to the Court reasonable justification for the

                     retention and use of such information when weighed against the

                     privacy interests of Plaintiff and Class Members;

             iv.     requiring Defendant to implement and maintain a comprehensive

                     Information    Security    Program     designed     to   protect   the

                     confidentiality and integrity of the PII of Plaintiff and Class

                     Members;

             v.      prohibiting Defendant from maintaining the PII of Plaintiff and

                     Class Members on a cloud-based database;

             vi.     requiring Defendant to engage independent third-party security

                     auditors/penetration testers as well as internal security personnel to

                     conduct testing, including simulated attacks, penetration tests, and

                     audits on Defendant’s systems on a periodic basis, and ordering

                     Defendant to promptly correct any problems or issues detected by

                     such third-party security auditors;

             vii.    requiring Defendant to engage independent third-party security

                     auditors and internal personnel to run automated security

                     monitoring;

             viii.   requiring Defendant to audit, test, and train its security personnel

                     regarding any new or modified procedures;




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             ix.     requiring Defendant to segment data by, among other things,

                     creating firewalls and access controls so that if one area of

                     Defendant’s network is compromised, hackers cannot gain access to

                     other portions of Defendant’s systems;

             x.      requiring Defendant to conduct regular database scanning and

                     securing checks;

             xi.     requiring Defendant to establish an information security training

                     program that includes at least annual information security training

                     for all employees, with additional training to be provided as

                     appropriate based upon the employees’ respective responsibilities

                     with handling personal identifying information, as well as protecting

                     the personal identifying information of Plaintiff and Class Members;

             xii.    requiring Defendant to routinely and continually conduct internal

                     training and education, and on an annual basis to inform internal

                     security personnel how to identify and contain a breach when it

                     occurs and what to do in response to a breach;

             xiii.   requiring Defendant to implement a system of tests to assess its

                     respective employees’ knowledge of the education programs

                     discussed in the preceding subparagraphs, as well as randomly and

                     periodically testing employees compliance with Defendant’s

                     policies, programs, and systems for protecting personal identifying

                     information;




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             xiv.   requiring Defendant to implement, maintain, regularly review, and

                    revise as necessary a threat management program designed to

                    appropriately monitor Defendant’s information networks for threats,

                    both internal and external, and assess whether monitoring tools are

                    appropriately configured, tested, and updated;

             xv.    requiring Defendant to meaningfully educate all Class Members

                    about the threats that they face as a result of the loss of their

                    confidential personal identifying information to third parties, as well

                    as the steps affected individuals must take to protect themselves;

             xvi.   requiring Defendant to implement logging and monitoring programs

                    sufficient to track traffic to and from Defendant’s servers; and for a

                    period of 10 years, appointing a qualified and independent third

                    party assessor to conduct a SOC 2 Type 2 attestation on an annual

                    basis to evaluate Defendant’s compliance with the terms of the

                    Court’s final judgment, to provide such report to the Court and to

                    counsel for the class, and to report any deficiencies with compliance

                    of the Court’s final judgment;

       D.    For an award of damages, including, but not limited to, actual,

             consequential, and nominal damages, as allowed by law in an amount to be

             determined;

       E.    For an award of attorneys’ fees, costs, and litigation expenses as allowed by

             law;

       F.    For prejudgment interest on all amounts awarded; and



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         G.     Such other and further relief as this Court may deem just and proper.

                                  DEMAND FOR JURY TRIAL

         Plaintiff hereby demands that this matter be tried before a jury.


  Date: June 9, 2023.                                  Respectfully Submitted,

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                                            *Pro Hac Vice To Be Filed

                                            COUNSEL FOR THE PLAINTIFF
                                            AND THE PUTATIVE CLASS




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